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 8
                             IN THE UNITED STATES DISTRICT COURT
 9
                                  FOR THE DISTRICT OF ARIZONA
10
11   United States of America,                             No. CR-22-08092-001-PCT-DGC
12                            Plaintiff,
13               vs.                                    GOVERNMENT’S UNOPPOSED
                                                      MOTION FOR PROTECTIVE ORDER
14
     Samuel Rappylee Bateman,
15
                              Defendant.
16
17          The United States moves for a protective order pursuant to Rule 16(d)(1) to restrict
18   dissemination of the discovery materials produced in this case.          In the interests of
19   transparency and full disclosure, the United States has agreed to disclose the entirety of its
20   investigation to date to the defendant, beyond what is required for the offenses currently
21   charged, in addition to what has already been disclosed. However, those materials include
22   private and personally identifying information (collectively “PII”) relating to victims and
23   witnesses in this case, including minors. Redacting the PII from all of those materials may
24   inhibit the defense team in its ability to review and analyze some of the discovery, and will
25   be unduly burdensome to redact.        Also, these discovery materials contain sensitive
26   information about cooperators.
27          Accordingly, the United States requests that this Court enter a protective order:
28          1.         Permitting the government to provide to defense counsel the discovery
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 1   materials without redaction of PII, to the extent that PII is present in those materials;
 2          2.     Permitting defense counsel to share these discovery materials with other
 3   members of the defense team, including experts, investigators, and other professionals
 4   retained by the defendant or defense counsel to assist in the preparation of the defense;
 5          3.     Ordering all members of the defense team to safeguard and not disclose the
 6   materials provided to it, other than to the extent necessary to prepare the defense;
 7          4.     Permitting the defense team to review the materials with the defendant and
 8   potential witnesses to the extent necessary to prepare the defense;
 9          5.     Prohibiting the defendant and potential witnesses from retaining any of the
10   materials during the course of the litigation; and
11          6.     Ordering the defense team to destroy, at the conclusion of this matter, all of
12   these discovery materials in its possession, except that defense counsel shall be allowed to
13   retain these materials until the time expires for all appeals, collateral attacks, other writs or
14   motions challenging the conviction or sentence, and actions for professional malpractice.
15          Undersigned counsel has consulted counsel for the defendant, who does not object
16   to entry of the proposed protective order.
17          Respectfully submitted this 12th day of December, 2022.
18                                                        GARY M. RESTAINO
                                                          United States Attorney
19                                                        District of Arizona
20
                                                           s/Dimitra H. Sampson
21                                                        DIMITRA H. SAMPSON
                                                          Assistant U.S. Attorney
22
23
                                   CERTIFICATE OF SERVICE
24
25        I hereby certify that on December 12, 2022, I electronically transmitted the attached
     document to the Clerk's Office using the CM/ECF System for filing a copy to the following
26   CM/ECF registrant: Adam Zickerman, Attorney for Defendant
27
      s/Keona L. Ross
28   U.S. Attorney’s Office
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